                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
      v.                                 )      No. 20 CR 637
                                         )      Judge Manish S. Shah
JEREMIAH HARRIS,                         )
                                         )
                    Defendant.           )

                             JOINT STATUS REPORT

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, and Defendant

JEREMIAH HARRIS, by his attorneys TODD S. PUGH and JOSHUA G. HERMAN,

submit this joint status report pursuant to the Court’s October 7, 2021, Order (R. 47).

      1.     On December 10, 2020, the defendant was charged by indictment with

three counts of sexual exploitation of a child, in violation of 18 U.S.C. §2251(a)

(Counts 1, 4, 5, and 6), one count of enticement, in violation of 18 U.S.C. §2422(b)

(Count 2), one count of receipt of child pornography, in violation of 18 U.S.C.

§2252A(a)(2)(A) (Count 3), and one count of travel with the intent to engage in illicit

sexual conduct with a minor, in violation of 18 U.S.C. §2423(b) (Count 7). (R. 28).

The defendant was detained pending trial.

      2.     The defense concluded its investigation as outlined in the Joint Status

Report of October 6, 2021. (R. 46, p. 2). On November 19, 2021, counsel for the

respective parties met to discuss the possibility of resolving this matter short of trial.
It was jointly decided that additional time is necessary before the parties can advise

the Court about the direction of the case.

      3.     The parties would jointly request an in-person status hearing on

January 4, 5, or 7, 2022, or at another time convenient for the Court.

      6.     The defendant has no objection to the exclusion of time under the Speedy

Trial Act to the next court date.



December 6, 2021                                 Respectfully submitted,

                                                 /s/ Todd S. Pugh
                                                 TODD S. PUGH

                                                 /s/ Joshua G. Herman
                                                 JOSHUA G. HERMAN

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